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          IN THE UNITED STATES COURT OF APPEALS
                 FOR THE ELEVENTH CIRCUIT

                 Nos. 22-13410, 22-14099 & 23-10387

                        Donald J. Trump et al.,
                               Appellants
                                    v.
                        Hillary R. Clinton et al.,
                                Appellees

          On Appeal from the United States District Court
                for the Southern District of Florida,
        Case No. 22-cv-14102 (Hon. Donald M. Middlebrooks)

            APPELLEES’ OPPOSITION TO
MOTION FOR JUDICIAL NOTICE OF THE DURHAM REPORT

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                           INTRODUCTION

     This Court should deny the motion of former President Donald J.

Trump and his lawyers (“Appellants”) to take judicial notice of Special

Counsel John Durham’s report concerning the FBI’s Crossfire Hurricane

investigation.   The Durham Report would not assist the Court in

resolving this appeal because it offers no new facts that could possibly

salvage Mr. Trump’s “frivolous” claims. Dist. Ct. Dkt. 302, at 6. The 306-

page, single-spaced report rehashes allegations already contained in the

complaint—many of them concerning FBI defendants who are no longer

parties to this case—while doing nothing to cure the legal defects that

warranted dismissal on the merits.          The district court accepted

Appellants’ shotgun allegations as true, Dist. Ct. Dkt. 267, at 22, but

nevertheless dismissed the complaint and imposed sanctions because

Appellants’ claims were “not warranted under existing law,” id. at 4, were

“foreclosed by existing precedent,” id., were barred on the face of the

complaint by the statute of limitations, id. at 23, and were rife with other

“fatal substantive defects that preclude[d] Plaintiff from proceeding

under any of the theories he has presented,” id. at 62. The Durham
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Report cannot retroactively render Appellants’ legal arguments more

colorable or their decision to pursue this case more reasonable.

     Judicial notice is also inappropriate because the Durham Report’s

findings and conclusions are themselves highly contested. Under Federal

Rule of Evidence 201(b), federal courts may take judicial notice only of “a

fact that is not subject to reasonable dispute,” a category that does not

include allegations from other court or agency proceedings offered for

their truth. See United States v. Jones, 29 F.3d 1549, 1553 (11th Cir.

1994).   Among other contested facts, the Durham Report recites

information from the criminal indictments the special counsel brought

against two Appellees—both of whom were acquitted by unanimous

juries. Neither these failed indictments nor other unproven allegations

in the Durham Report demonstrate the “plausibility” of Mr. Trump’s

allegations or suggest that his claims have any legal merit. Mot. 7.

                            BACKGROUND

     Six years after the 2016 presidential election, former President

Trump brought a 193-page complaint alleging that Hillary Clinton—the

candidate he defeated—and others formed a RICO enterprise and

committed various crimes and torts in an effort to derail his candidacy.



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The district court dismissed the claims against these defendants with

prejudice and imposed nearly $1 million in sanctions on Mr. Trump and

his counsel, concluding they had “recklessly advanced claims foreclosed

by existing precedent” and “consistently misrepresented” the contents of

the Mueller Report and other public documents that supposedly bolstered

their claims. Dist. Ct. Dkt. 302, at 14, 19. As to Mr. Trump specifically,

the district court found that these “frivolous” claims were only the latest

example in a “pattern of misusing the courts to serve political purposes.”

Id. at 6, 21.

      After the district court dismissed the complaint, nine months

elapsed before Appellants filed their opening brief on appeal. Near the

end of that nine-month period, Special Counsel John Durham released a

306-page report memorializing the results of his investigation into

whether FBI agents violated the law as they investigated Russian

interference in the 2016 presidential election. See John H. Durham,

Report on Matters Related to Intelligence Activities and Investigations

Arising Out of the 2016 Presidential Campaigns 5 (May 12, 2023)

(“Durham Report”).




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     Specifically, the Durham Report examined the circumstances that

led to the opening of the FBI’s Crossfire Hurricane investigation, which

targeted four individuals associated with the Trump campaign. Durham

Rep. 10. The Durham Report criticized the FBI for opening Crossfire

Hurricane based on a tip from Australian diplomats that “there might be

some type of collusion between the Trump campaign and the Russians,”

without vetting that information through intelligence agencies. Id. The

report also concluded that at least one FBI agent associated with

Crossfire Hurricane had “pronounced hostile feelings toward Trump.” Id.

at 9. In the special counsel’s view, the FBI also exhibited an “over-

willingness to rely on information from individuals connected to political

opponents” as Crossfire Hurricane progressed. Id. at 18. The Durham

Report did not, however, recommend any changes to FBI “guidelines and

policies” as a result of the special counsel’s investigation. Id.

     The Durham Report also addressed a supposed plan by the Clinton

campaign “to stir up a scandal” by tying Mr. Trump to President Vladimir

Putin of Russia.     Durham Rep. 81.        The report noted that these

allegations against the Clinton campaign originated with “Russian

intelligence” and “may reflect exaggeration or fabrication.” Id. To the



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extent such a plan existed, the special counsel found nothing untoward

or even unusual about these ordinary campaign tactics. “To be clear,”

the Durham Report stated, “the Office did not and does not view the

potential existence of a political plan by one campaign to spread negative

claims about its opponent as illegal or criminal in any respect.” Durham

Rep. 82 n.393 (emphasis added). To the contrary, “opposition research is

commonplace in Washington, D.C.” and “is not a basis in and of itself for

criminal liability.” Id.

                                ARGUMENT

     This Court should deny Appellants’ motion for judicial notice of the

Durham Report for two independent reasons. First, the Durham Report

would add 306 single-spaced pages to a record already “filled with

immaterial, conclusory facts,” Dist. Ct. Dkt. 302, at 7, while doing

nothing to salvage Mr. Trump’s legally deficient claims. Second, the

report contains disputed facts and allegations that are not proper

subjects of judicial notice under Federal Rule of Evidence 201(b).

Appellants’ alternative argument that the Court should stay the appeal

to allow them to seek an indicative ruling from the district court also

lacks merit.



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I.   The Durham Report Adds Nothing New and Will Not Change
     the Outcome of the Appeal.

     Federal appeals courts ordinarily confine their review only to facts

and allegations contained in the district court record.            Stansell v.

Revolutionary Armed Forces of Colombia, 45 F.4th 1340, 1348 (11th Cir.

2022) (“we are a court of review, not a court of first view” (cleaned up)).

Only “rarely,” in “the interests of justice,” does the Court exercise its

authority to supplement the record on appeal. CSX Transp., Inc. v. City

of Garden City, 235 F.3d 1325, 1330 (11th Cir. 2000). A “primary factor”

the Court considers in its analysis “is whether acceptance of the proffered

material into the record would establish beyond any doubt the proper

resolution of the pending issues.” Id. Appellants cannot satisfy that

standard because the Durham Report rehashes allegations already

contained in the complaint and cannot cure the fundamental defects in

Appellants’ legal theories.

     Although Appellants assert that the Durham Report “seismically

alters the legal landscape of this case,” Mot. 1, their opening brief on

appeal tells a different story. There, Appellants concede that “the district

court did not need the Durham Report” because it contained “mostly

public facts.” Appellants’ Br. 62. For example, Appellants assert that


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the Durham Report makes “clear” that “Appellee Comey,” the former

director of the FBI, “was actually aware of intelligence on a Clinton

campaign plan to smear President Trump by associating him with

Vladimir Putin.” Id. at 61. But the complaint already contained that

precise allegation, citing to a Washington Times article reporting that

Comey supposedly knew that the Clinton campaign “was planning to

blame ‘collusion’ between Trump and the Russian government.” Am.

Compl. ¶ 402(a).

     Appellants point to no new facts in the Durham Report not already

contained in the district court record—much less facts that would change

the outcome of this case. Their position, instead, is that the Court should

notice the Durham Report because it “corroborates” allegations already

reflected in the complaint. Mot. 1. But no corroboration is required at

the pleading stage because federal courts are required to “accept[]” any

well-pleaded facts alleged in the complaint “as true” for purposes of the

motion to dismiss, Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009), and the

district court did exactly that below. Dist. Ct. Dkt. 267, at 22. This Court

has no need to consider the Durham Report when the complaint “already

reflects the relevant content” contained in that report. United States v.



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Hernandez, 626 F. App’x 900, 901 n.1 (11th Cir. 2015); see also First Ala.

Bank of Montgomery, N.A. v. Parsons Steel, Inc., 825 F.2d 1475, 1487

(11th Cir. 1987) (denying motion to supplement record when the “fact” at

issue was “already clear from the record”).

     Appellants respond that the Durham Report bolsters their claims

because the district court found their allegations “implausible.” Mot. 9.

To be sure, the district court remarked on the absurdity of Mr. Trump’s

allegation that Comey—whose damaging letter to Congress undercut

Mrs. Clinton’s campaign days before the 2016 election—was in fact her

co-conspirator. Mot. 7; see also Nate Cohn, Did Comey Cost Clinton the

Election? Why We’ll Never Know, N.Y. Times (June 14, 2018). But the

district court dismissed the complaint because Mr. Trump failed

adequately to allege almost every element of his causes of action, and

many of his claims were barred by precedent—not because the factual

allegations were farfetched. For example, the district court held that Mr.

Trump failed to plead obstruction of justice, one of his RICO predicate

acts, because Crossfire Hurricane did not qualify as an “official

proceeding” within the meaning of 18 U.S.C. § 1512(c). Dist. Ct. Dkt. 267,

at 32. Whatever conclusions the Durham Report reached about Crossfire



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Hurricane, they would not change the district court’s legal conclusion

that “official proceedings” are “limited to federal judicial cases” or formal

“proceedings before Congress or a federal agency” and do not include FBI

investigations. Id. Appellants do not even challenge that conclusion on

appeal.

     Similarly, Appellants contend that the Durham Report supports

their claims because it concluded that certain FBI personnel had “a ‘clear

predisposition’ against President Trump” and “acted considerably more

favorably” to Mrs. Clinton’s campaign than to Mr. Trump’s. Mot. 10–11.

But even if those findings had merit, they could not possibly change the

outcome of this appeal because the FBI defendants (including “Appellee

Comey”) are no longer parties to this case. The district court dismissed

the claims against the FBI defendants for failure to exhaust, Dist. Ct.

Dkt. 267, at 14, and Mr. Trump has not challenged that decision on

appeal. The allegations in the Durham Report concerning alleged FBI

favoritism are therefore irrelevant to the issues before this Court.

     The Durham Report also provides no basis to relieve Appellants

from the sanctions orders. The district court imposed those penalties

because    Appellants    brought     claims     foreclosed     by     precedent,



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misrepresented the contents of various government records, and (as to

Mr. Trump) repeatedly misused the federal courts for political ends. See

p. 3, supra. Appellants have failed to explain how the Durham Report in

any way alters that analysis. To the contrary, the motion for judicial

notice itself exemplifies the very sort of problems that compelled the

district court to levy sanctions.

     At the outset, the motion misrepresents the Durham Report as a

“comprehensive” look into “the origin of the Crossfire Hurricane

investigation of President Trump.”           Mot. 3 (emphasis added).          But

Crossfire Hurricane did not target Mr. Trump, nor did the Durham

Report so indicate. Like the Department of Justice Inspector General’s

Report before it,1 the Durham Report made clear that Crossfire

Hurricane    concerned    “individual(s)       associated    with     the   Trump

campaign,” but not the candidate himself. Durham Rep. 51; see also id.

at 10, 64, 295 (noting Crossfire Hurricane included investigations of

Trump associates George Papadopoulos, Carter Page, Michael Flynn,


1 The Department of Justice’s Office of the Inspector General conducted
an inquiry into Crossfire Hurricane and concluded, in a report
incorporated by reference into the complaint, that the FBI had “adequate
factual predication” for launching the investigation and undertook it for
an “authorized purpose.” Dist. Ct. Dkt. 226-1, at 347.

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and Paul Manafort).      This distinction is critical because Mr. Trump

cannot recover damages for alleged defects in an FBI investigation that

was not even about him.

      More generally, like Appellants’ pleadings below, the motion for

judicial notice of the Durham Report taxes the resources of the parties

and the Court. The district court imposed sanctions not simply because

the claims were frivolous, but because they were packaged in a 193-page,

819-paragraph complaint “filled with immaterial, conclusory facts not

connected to any particular cause of action.” Dist. Ct. Dkt. 302, at 7.

Here, with the same disregard for judicial economy, Appellants have

asked the Court to enlarge the record with the 306-page, single-spaced

special counsel report that does not bear on the legal issues in the appeal.

Appellants have not even bothered to excerpt portions of the Durham

Report they believe are most critical to their case, instead importuning

the Court and opposing parties to wade through this dissertation-length

document in its entirety. But “judges are not like pigs, hunting for

truffles buried in briefs” or the record. Chavez v. Sec’y Fla. Dep’t of Corr.,

647 F.3d 1057, 1061 (11th Cir. 2011); see also United States v. Morton,

993 F.3d 198, 204 n.10 (3d Cir. 2021) (similar). Appellants’ failure to



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identify anything more than a handful of soundbites within the 306-page

Durham Report provides yet another basis for denying the motion. See

Lodge v. Kondaur Cap. Corp., 750 F.3d 1263, 1273 (11th Cir. 2014)

(denying motion for judicial notice where moving party failed to provide

the Court necessary information under Rule 201, such as screenshots of

the websites at issue).

II.   Appellants Cannot Satisfy Rule 201(b)’s Requirements for
      Judicial Notice Because the Durham Report’s Findings Are
      Subject to Dispute.

      The Court should deny the motion for judicial notice for the

independent reason that Appellants cannot satisfy the requirements of

Federal Rule of Evidence 201(b). That rule permits federal courts to

notice “a fact that is not subject to reasonable dispute,” either because it

(1) is “generally known within the trial court’s territorial jurisdiction” or

(2) “can be accurately and readily determined from sources whose

accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b)(1)–(2).

“Indisputability is a prerequisite” to judicial notice under this rule.

Grayson v. Warden, Comm’r, Ala. Dep’t of Corr., 869 F.3d 1204, 1225

(11th Cir. 2017). Appellants cannot satisfy that standard because the

Durham Report contains contested findings and conclusions that bear



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little resemblance to the sort of incontrovertible facts—e.g., “when does

the sun rise or set” or “who was president in 1958”—of which courts take

notice under Rule 201. Shahar v. Bowers, 120 F.3d 211, 214 (11th Cir.

1997) (en banc).

     The Durham Report asserts, for example, that its “investigation

showed” that appellee Michael Sussmann, a former partner at Perkins

Coie LLP and an outside lawyer for the Clinton campaign, made a “false”

representation to the FBI that he was “acting on his own” and “not

representing any client” when he furnished information concerning Mr.

Trump. Durham Rep. 16. The special counsel indicted Mr. Sussmann on

a single charge of making a false statement—but a jury unanimously

acquitted him at trial. Id. at 287.

     Likewise, the Durham Report states that appellee Igor Danchenko

“never spoke” to an alleged source of information contained in the Steele

Dossier and instead “fabricated” that information. Durham Rep. 16. The

special counsel indicted Mr. Danchenko on four counts of making false

statements about the same thing—and, again, a jury unanimously

acquitted him on all counts.     Id. at 238.          A fifth count against Mr.

Danchenko for making a false statement about appellee Charles Halliday



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Dolan, Jr. was dismissed for insufficient evidence under Federal Rule of

Criminal Procedure 29. Id. As to Mr. Sussmann and Mr. Danchenko,

then, the report contains only unproven allegations rejected by separate

federal juries, not the sort of indisputable facts subject to judicial notice

under Rule 201(b). See Blash v. City of Hawkinsville & Pulaski Cnty.,

2018 WL 2247246, at *2 n.4 (M.D. Ga. May 16, 2018) (taking judicial

notice of criminal indictment for the “limited purpose that the indictment

exists,” while declining to take notice of allegations contained in the

indictment).

     Similarly, the Durham Report contains disputed inferences

concerning Mr. Dolan that are not a proper subject of judicial notice.

Based on hearsay and disparate bits of information gathered during the

special counsel’s investigation, the Durham Report conjectures that

“there appears to be a real likelihood that Dolan was the actual source of

much of the Ritz Carlton and Pavlov information contained in the Steele

Reports.” Durham Rep. 148. This bare speculation does not come close

to satisfying Rule 201’s requirements for judicial notice.

     Appellants counter (at 3–5) that federal courts routinely take notice

of “agency records and reports” like Durham’s, but the cases they cite



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undermine rather than support their position. Appellants rely on cases

in which this Court took notice of procedural developments in cases from

other jurisdictions. In Rothenberg v. Security Management Co., 667 F.2d

958 (11th Cir. 1982), for example, the Court noted that a directed verdict

had been entered against the plaintiff in other litigation, id. at 961 & n.8.

And in Coney v. Smith, 738 F.2d 1199 (11th Cir. 1984) (per curiam), the

Court recognized that a state court had previously considered a question

the appellant was seeking to relitigate in federal court, id. at 1200. These

cases reflect the well-established principle that “a court may take judicial

notice of . . . the fact of” other “litigation and related filings,” but not “the

truth of the matters asserted in the other litigation.” Jones, 29 F.3d at

1553 (emphases added).

      Here, by contrast, Appellants are attempting to use Rule 201(b) to

do precisely what this Court forbids. They argue (at 3, 9) that the Court

should take notice of the Durham Report because it “lends credence . . .

to President Trump’s factual claims” and shows that their allegations are

“plausible.” But the only way the report could possibly bear on the

credibility or plausibility of Mr. Trump’s allegations is if the Court

accepts its contents as true.      As Jones and other cases make clear,



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however, Rule 201(b) is not a vehicle for courts to accept “the truth of the

matters asserted in . . . other litigation,” including the discredited

criminal allegations brought by Mr. Durham. Grayson, 869 F.3d at 1225

n.50.2

     Appellants (at 4) also liken the Durham Report to the final report

of the House Select Committee that investigated the January 6, 2021

attack on the U.S. Capitol, which a federal district court noticed in United

States v. MacAndrew, 2023 WL 196132, at *2 n.1 (D.D.C. Jan. 17, 2023).

But, once again, that case could not be more different. The MacAndrew

court took notice only of certain “background information” contained in

the Committee report, not its findings and conclusions, and only after the

court informed the parties it would rely on the report and they “did not

object.” Id. That case provides no support for Appellants’ position that

this Court should rely on the Durham Report’s disputed findings and

conclusions to assess the plausibility of Mr. Trump’s allegations.




2 Compare this with the district court’s properly taking notice of Mr.
Trump’s tweets below “not for the truth of their contents but for what
they reveal about Plaintiff’s knowledge,” an appropriate (and unobjected-
to) use of judicial notice. Dist. Ct. Dkt. 267, at 25.

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III. Appellants Have No Basis for a Stay to Obtain an Indicative
     Ruling from the District Court.

     This Court should also reject Appellants’ alternative argument

that, if the Court declines to take notice of the Durham Report, it should

stay this appeal to allow Appellants to seek an indicative ruling from the

district court under Federal Rule of Civil Procedure 62.1. That rule

permits the district court to indicate that it would grant relief from its

judgment under Rule 60 if the court of appeals were to remand “for that

purpose.” Fed. R. Civ. P. 62.1 Advisory Comm. Note; see also In re Zantac

(Ranitidine) Prods. Liab. Litig., 2023 WL 2325536, at *3 (S.D. Fla. Mar.

2, 2023). Any such request to the district court in this case would be futile

and would only create needless delay.            The district court carefully

analyzed Mr. Trump’s lengthy complaint and found that his claims were

“completely frivolous.” Dist. Ct. Dkt. 302, at 6. Appellants have pointed

to nothing in the Durham Report that might cause the district court to

revisit its conclusion that Mr. Trump failed to state a claim and that he

and his lead counsel brought this suit “in bad faith for an improper

purpose.” Id.

     Appellants, in any event, have failed to comply with the Court’s

procedures for seeking a stay in service of a Rule 62.1 motion. Circuit


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Rule 12.1-1 provides that a party must move for a stay in this Court no

later than 14 days after filing a motion for an indicative ruling “in the

district court.” Mot. 12 (emphasis added). Because Appellants have not

brought such a motion in the district court, they have no basis for seeking

a stay here.

                             CONCLUSION

     For the reasons given above, this Court should deny the motion to

take judicial notice of the Durham Report and deny the alternative

request for a stay.




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                 CERTIFICATE OF COMPLIANCE

     This opposition complies with the type-volume limitation of Federal

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Dated: July 11, 2023                          /s/ F. Joseph Warin
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                    CERTIFICATE OF SERVICE

     I hereby certify that, on July 11, 2023, a copy of the foregoing

opposition brief was filed with the Clerk of Court using this Court’s

CM/ECF system, which will serve a copy on all counsel of record.



                                              /s/ F. Joseph Warin
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